Case 6:09-cr-00320-RFD-CMH         Document 790       Filed 09/24/14    Page 1 of 3 PageID #:
                                         2958



                          UNITED STATES DISTRICT COURT

                        WESTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                         *      CRIMINAL NO. 6:09-0320-07

 VERSUS                                           *      JUDGE DOHERTY

 LEONARD MORRISON                                 *      MAGISTRATE JUDGE HILL

                                          RULING

        Currently before court is the Motion for Reconsideration filed by Leonard

 Morrison (“Morrison”). [rec. doc. 788]. By this Motion, Morrison seeks a

 reconsideration of the undersigned's ruling denying his Motion to Produce Sentencing

 Transcript Without Cost or Repayment Thereof and Motion for Leave to Proceed In

 Forma Pauperis, wherein he sought a free copy of his sentencing transcript "so that he

 may perfect his Motion seeking specific performance of his plea agreement and caused of

 action against the Government potentially in violation of his Plea Agreement under

 Contract Laws" and in forma pauperis status so that he may obtain his sentencing

 transcript free of charge. [rec. doc. 785]. Morrison complains that the undersigned should

 not have referred to § 2255 cases, and presumably, the one-year statute of limitation

 applicable thereto, because his claim was filed pursuant to Rule 16 of the Federal Rules

 of Criminal Procedure.

        Morrison's contentions are without merit. Rule 16 of the Federal Rules of

 Criminal Procedure outlines the government's pre-trial discovery obligations. United

 States v. Nobles, 422 U.S. 225, 235-236, 95 S.Ct. 2160, 2168-2169 (1975) ("Both the

 language and history of Rule 16 indicate that it addresses only pretrial discovery."). The
Case 6:09-cr-00320-RFD-CMH         Document 790       Filed 09/24/14     Page 2 of 3 PageID #:
                                         2959



 Rule therefore has no application in collateral proceedings. Furthermore, even if Rule 16

 was applicable in collateral post-conviction proceedings, Morrison's sentencing transcript

 does not fall within any of the enumerated categories required by Rule 16(a)(1) to be

 disclosed by the government, and is clearly not "within the government's possession,

 custody, or control", a necessary prerequisite to production under the Rule. See Rule

 16(a)(1)(B)(i) (Defendant's Recorded Statement); see also Rule 16(a)(1)(E) (Documents

 or Objects).

        Federal courts may properly ignore the legal label that a pro se litigant attaches to

 a motion and re-characterize the motion in order to place it within a different legal

 category, to create a better correspondence between the substance of a pro se motion's

 claim and its underlying legal basis. Castro v. United States, 540 U.S. 375, 381-382, 124

 S.Ct. 786, 791-792 (2003). Contrary to Morrison's present contentions, claims seeking

 specific performance of an allegedly breached plea agreement are typically considered in

 § 2255 Motions. United States v, Huerta, 515 Fed. Appx. 266, 267 (5th Cir, 2013) citing

 Reyes–Requena v. United States, 243 F.3d 893, 901 (5th Cir.2001) and United States v.

 Cates, 952 F.2d 149, 151 (5th Cir.1992); United States v. Mitchell, 444 Fed. Appx. 78, 79

 (5th Cir. 2011); see also McDow v. United States, 2014 WL 3342571, *2 (N.D. Tex.

 2014). This is so because § 2255 is the primary means under which a federal prisoner

 may collaterally attack the legality of his conviction or sentence and is the appropriate

 remedy for "any error that ‘occurred at or prior to sentencing.’” Reyes–Requena, 243 F.3d

 at 901 quoting Cox v. Warden, Fed. Detention Ctr., 911 F.2d 1111, 1113 (5th Cir. 1990)
Case 6:09-cr-00320-RFD-CMH        Document 790       Filed 09/24/14    Page 3 of 3 PageID #:
                                        2960



 quoting United States v. Flores, 616 F.2d 840, 842 (5th Cir. 1980); Padilla v. United

 States, 416 F.3d 424, 425-426 (5th Cir. 2005).

        For these reasons;

        IT IS ORDERED that the instant Motion for Reconsideration [rec. doc. 788] is

 denied.

        Signed in chambers in Lafayette, Louisiana on September 24, 2014.
